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U.S. Department of Justice

United States Attorney
District of Minnesota

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July 25, 2024

Via Hand Delivery — Not to Be Filed RECEIV ED

Kate M. Fogarty JUL 95 2024

Clerk of Court, United States District Court — District of Minnesota
300 South Fourth Street — Suite 202 CLERK
Minneapolis, MN 55415 S. DISTRICT co

. \S,
Re: — United States v. Evergreen Recovery Inc. et al., Case No. MINNEAPOL
Dear Ms. Fogarty:

I write on behalf of the United States regarding a filing we are making with the Court
concurrently with this letter. We respectfully request that the United States be permitted to make
the entire filing under seal.

The United States is filing a request for an ex parte Temporary Restraining Order pursuant
to 18 U.S.C. § 1345 that, if granted, will have the effect of freezing Defendants’ assets. As laid out
in the Complaint and the accompanying Motion to Seal, the United States has reason to believe
Defendants are engaged in a healthcare fraud scheme that has resulted in at least $28 million in
losses to Medicaid. Having this case placed under seal until service of process is perfected is
necessary because of the nature of the relief requested. If Defendants are alerted to this action
before they receive service of process of a TRO they may have an opportunity dissipate or hide
the very assets the TRO seeks to preserve.

Thank you for your attention to this matter.

Sincerely, | ~ SCANNED

ANDREW M. LUGER | JUL 25 2024
United States Attorney | us. pistRICT COURT MPLS

s/ Emily M. Peterson

By: Emily M. Peterson
Assistant United States Attorney
